                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF IOWA

TRACEY K. KUEHL, an individual;            )
LISA K. KUEHL, an individual;              )   Case No. C14-2034-LRR
KRISS A. BELL, an individual;              )
JOHN T. BRAUMANN, an individual,           )
and; ANIMAL LEGAL DEFENSE                  )
FUND, a non-profit corporation,            )
                                           )   PLAINTIFF ANIMAL LEGAL
              Plaintiffs,                  )   DEFENSE FUND’S RESPONSES TO
                                           )   DEFENDANT CRICKET HOLLOW
       vs.                                 )   ZOO’S INTERROGATORIES TO
                                           )   ANIMAL LEGAL DEFENSE FUND
PAMELA SELLNER, an individual;             )
TOM SELLNER, an individual; and            )
CRICKET HOLLOW ZOO, a                      )
non-profit corporation,                    )
                                           )
              Defendants.                  )
                                           )

       COME NOWS, the Defendant, Cricket Hollow Zoo, and pursuant to Rule 33 of

Federal Rules of Civil Procedure, hereby serves the attached interrogatories to be

answered under oath by the Plaintiff, Animal Legal Defense Fund. These interrogatories

are to be continuing in character, and if further or different information from answers

becomes available to the Plaintiff to whom these interrogatories are directed, such

information is requested to be forwarded to the attorneys for the Defendant. Where

knowledge or information in the possession of is requested, such request includes the

knowledge of the party’s agents, representatives, and unless privileged, Plaintiff’s

attorney.




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       A.     As used herein, the terms “you,” “your,” or “yourself” refers to Plaintiff and

each of Plaintiff’s agents, representatives, and attorneys and each person acting or

purporting to act on Plaintiff’s behalf.

       B.     As used herein, the term “representative” means any and all agents,

employees, servants, officers, directors, attorneys, or other persons acting or purporting to

act on behalf of the persons in question.

       C.     As used herein, the term “person” means any natural individual in any

capacity whatsoever or any entity or organization, including division, departments, and

other units therein, and shall include, but not be limited to, a public or private corporation,

partnership, joint venture, voluntary or unincorporated association, organization,

proprietorship, trust, estate, governmental agency, commission, bureau, or department.

       D.     As used herein, the term “document” means any medium upon which

intelligence or information can be recorded or retrieved, and includes, without limitation,

the original and each copy, regardless of origin and location, of any book, pamphlet,

periodical, letter, memorandum (including any memorandum or report of a meeting or

conversation), invoice, bill, order form, receipt, financial statement, accounting entry,

diary, calendar, telex, telegram, cable, report, record, contract, agreement, study,

handwritten note, draft, working paper, chart, paper, print, laboratory record, drawing,

sketch, graph, index, list, tape, photograph, microfilm, data sheet or data processing card,

or any other written, recorded, transcribed, punched, taped, filmed, or graphic matter,




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however produced or reproduced, which is in your possession, custody, or control or

which was, but is no longer, in your possession, custody, or control.

       E.      As used herein, the term “communication” means any oral or written

utterance, notation, or statement of any nature whatsoever, by and to whomsoever made,

including, but not limited to, correspondence, conversations, dialogues, discussions,

interviews, consultations, agreements, and other understandings between or among two

or more persons.

       F.      As used herein, the terms “identification,” “identify,” or “identity,” when

used in reference to (a) a natural individual, require you to state his or her full name and

residential and business addresses; (b) a corporation, require you to state its full corporate

name and any names under which it does business, its state of incorporation, the address

of its principal place of business, and the addresses of all of its officers in any region; (c) a

business, require you to state the full name or style under which the business is

conducted, its business address or addresses, the types of businesses in which it is

engaged, the geographic areas in which it conducts those businesses, and the identity of

the person or persons who own, operate, and control the business; (d) a document, require

you to state the number of pages and the nature of the document (e.g., letter or

memorandum), its title, its date, the name or names of its authors and recipients, and its

present location and custodian; (e) a communication, require you, if any part of the

communication was written, to identify the document or documents which refer to or




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evidence the communication, and, to the extent that the communication was non-written,

to identify the persons participating in the communication and to state the date, manner,

place, and substance of the communication.

       G.     As used herein, the word “or” appearing in an interrogatory should not be

read so as to eliminate any part of the interrogatory, but, whenever applicable, it should

have the same meaning as the word “and.” For example, an interrogatory stating

“support or refer” should be read as “support and refer” if an answer that does both can

be made.

       With respect to each interrogatory, in addition to supplying the information

requested, you are to identify all documents that support, refer to, or evidence the subject

matter of each interrogatory and your answer thereto.

       If any or all documents identified herein are no longer in your possession, custody,

or control because of destruction, loss, or any other reason, then do the following with

respect to each and every such document: (a) describe the nature of the document (e.g.,

letter or memorandum); (b) state the date of the document; (c) identify the persons who

sent and received the original and a copy of the document; (d) state in as much detail as

possible the contents of the document; and (e) state the manner and date of disposition of

the document.

       If you contend that you are entitled to withhold from production any or all

documents identified herein on the basis of the attorney-client privilege, the work-product




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doctrine, or other ground, then do the following with respect to each and every document:

(a) describe the nature of the document (e.g., letter or memorandum); (b) state the date of

the document; (c) identify the persons who sent and received the original and a copy of

the document; (d) state the subject matter of the document; and (e) state the basis upon

which you contend you are entitled to withhold the document from production.

                                          Respectfully submitted,




                                          __________________________________________
                                          Larry J. Thorson                   #AT0007976
                                          ACKLEY KOPECKY & KINGERY, L.L.P.
                                          4056 Glass Road, NE
                                          Cedar Rapids, IA 52402
                                          Ph: (319) 393-9090 Fax: (319) 393-9012
                                          Email: lthorson@akklaw.com




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                               CERTIFICATE OF SERVICE

      I, Theresa Trenary, of Ackley, Kopecky & Kingery, L.L.P., 4056 Glass Road NE,
Cedar Rapids, Iowa 52402, certify:

       That I am, and at all times hereinafter mentioned was, more than 18 years of age.

      That on the _____ day of ______________, 2014, I served the original of the
foregoing instrument, to which this Certificate is attached, either via electronic filing or
by U.S. Postage prepaid mail, to the parties or the attorneys of record shown below, as
follows:

       Original to: Daniel J. Anderson
                    Wertz & Dake
                    1500 Center St. NE #101
                    Cedar Rapids, IA 52402-5500
                    danderson@wertzlaw.com

       Copy to:      Jessica Blome
                     Animal Legal Defense Fund
                     170 E. Cotati Avenue
                     Cotati, CA 94931
                     jblome@aldf.org




I certify under penalty of perjury that the foregoing is true and correct.



Executed on
                     (Date)                              (Signature)




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        INTERROGATORY NO. 1: Please identify who is answering these

interrogatories, and state that person's:

A.      Complete name; complete business and residence address and telephone numbers;

B.      Such person's occupation, vocation, and professional field, if any;

C.      Relationship to the Plaintiff herein.



        ANSWER:

     1. Jessica Blome, on behalf of: Animal Legal Defense Fund (“ALDF”); 170 E. Cotati
        Ave.; Cotati, CA 94931; 707-795-2533.

     2. Staff Attorney at ALDF

     3. Counsel for Plaintiff ALDF and for all individual plaintiffs




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       INTERROGATORY NO. 2: Identify each person you expect to call as an expert

witness at trial, and for each person, describe the subject matter of expected testimony,

their qualifications to testify as an expert on the subject(s), the substance of the facts to

which the expert is expected to testify and relate his or her testimony, the mental

impressions and the substance of opinions to which the expert is expected to testify, and a

summary of the basis and grounds for each opinion.




       ANSWER:

Plaintiffs object to Interrogatory No. 2 because it is vague, overbroad, and impossible to
answer fully. Defendants have explicitly requested that Plaintiffs communicate future
“mental impressions” of Plaintiffs’ experts. Plaintiffs cannot possibly know what those
future mental impressions might be.

Without waiving these objections, Plaintiffs may call as expert witnesses (1) Jennifer
Conrad, D.V.M.; (2) Peter Klopfer, Ph.D.; and (3) Dorothy Cheney, Ph.D.

   1. Dr. Conrad will testify respecting the neglect and mistreatment of Defendants’
      captive big cats and wolves. Her qualifications can be viewed in her C.V., which
      plaintiff has requested and will produce once received. A summary of the basis
      and grounds for Dr. Conrad’s opinions can be gleaned from the letter
      communicating her concerns respecting Defendants’ zoo that she sent to the United
      States Department of Agriculture’s (“USDA”) Animal and Plant Health Inspection
      Service (“APHIS”) on May 22, 2014, and the declaration that accompanied that
      letter, attached herewith.

   2. Dr. Klopfer will testify respecting the inadequate conditions Defendants provide to
      their captive lemurs. His qualifications can be viewed in his C.V., produced
      herewith. A summary of the basis and grounds for Dr. Klopfer’s opinions can be
      gleaned from the declaration that he submitted with Plaintiffs’ 60-Day Notice letter,
      produced herewith.




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3. Dr. Cheney will testify respecting the inadequate conditions Defendants provide to
   their captive baboons. Her qualifications can be viewed in her C.V., which plaintiff
   has requested and will produce once received. A summary of the basis and
   grounds for the expert’s opinions can be gleaned from the letter communicating her
   analysis of Defendants’ zoo which she sent to APHIS on May 1, 2014, produced
   herewith.




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